

Matter of Syncere D. (Shaina D.(B.)) (2021 NY Slip Op 06473)





Matter of Syncere D. (Shaina D.(B.))


2021 NY Slip Op 06473


Decided on November 19, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 19, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


677 CAF 19-02013

[*1]IN THE MATTER OF SYNCERE D. ONONDAGA COUNTY DEPARTMENT OF CHILDREN AND FAMILY SERVICES, PETITIONER-RESPONDENT; SHAINA D.(B.), RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






ANTHONY BELLETIER, SYRACUSE, FOR RESPONDENT-APPELLANT.
ROBERT A. DURR, COUNTY ATTORNEY, SYRACUSE (YVETTE VELASCO OF COUNSEL), FOR PETITIONER-RESPONDENT.
SUSAN B. MARRIS, MANLIUS, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Onondaga County (Michele Pirro Bailey, J.), entered October 8, 2019 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, terminated respondent's parental rights with respect to the subject child. 
It is hereby ORDERED that said appeal is unanimously dismissed except insofar as respondent Shaina D.(B.) challenges the denial of her attorney's request for an adjournment, and the order is affirmed without costs.
Same memorandum as in Matter of John D., Jr. (John D.) ([appeal No. 2] — AD3d — [Nov. 19, 2021] [4th Dept 2021]).
Entered: November 19, 2021
Ann Dillon Flynn
Clerk of the Court








